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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 0-20-CV-61872-AHS
   ALAN DERSHOWITZ,

                              Plaintiff,

   vs.

   CABLE NEWS NETWORK,

                     Defendant
   __________________________________/
              PLAINTIFF’S REPLY TO CNN’S OPPOSITION TO PLAINTIFF’S
          MOTION TO PRECLUDE EXPERT TESTIMONY OF FRANK O. BOWMAN, III

                                           Introduction and Summary

               Although CNN concedes that “expert testimony on the subjective state of mind of CNN is

   inadmissible” and is willing to “stipulate that Professor Bowman will not offer such testimony,”1

   that stipulation is meaningless. According to CNN, Professor Bowman will instead give the jury

   his opinion on “hypothetical listeners’ interpretations” of Professor Dershowitz’s remarks.2 But

   who are these “hypothetical listeners” whose “interpretations” the jury needs to assess? In his

   expert report, Professor Bowman identified them as “members of the press and professional

   broadcast commentators,”3 who—by definition—include CNN’s professional broadcast

   commentators. However now presented, CNN wants Professor Bowman to give his opinion on

   how Professor Dershowitz’s statements should be interpreted, and that is inadmissible state of

   mind testimony.


   1
    CNN’s Memorandum of Law in Opposition to Plaintiff’s Daubert Motion to Preclude Expert Testimony of Frank
   O. Bowman, III (ECF No. 251, “CNN Opp.”) at 4.
   2
       Id. at 5.
   3
       Expert Witness Report of Frank O. Bowman, III (“Bowman Rep.”) at 1.


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               CNN’s intent in this regard is made even clearer when it argues in a later portion of its brief

   that Professor Bowman’s testimony on the “context” of the Dershowitz response “allowed CNN

   commentators to draw the conclusion that the response was a new and expansive argument” and

   that this context “helps explain the CNN commentators’ opinion.”4              There is no question that

   Professor Bowman intends to provide state of mind testimony.

               CNN also says that, as a matter of “[f]undamental fairness,” Professor Bowman should be

   allowed to lift a “muzzle” on his testimony “that could credibly challenge [Professor Dershowitz’]

   own views on impeachment.”5 But this case is not about who is right or wrong on the Constitution.

   Professor Dershowitz is not going to argue the correctness of his legal position on impeachment,

   and the jury will not be asked to decide how the Constitution should be interpreted. This is a

   defamation case, and the jury will only be asked to decide whether CNN’s factual statements about

   Professor Dershowitz were false, defamatory, and made with actual malice. Academic views on

   impeachment standards are irrelevant.

               CNN’s alternative argument that Professor Bowman’s testimony will provide “the highly

   relevant context” needed to evaluate “CNN’s opinion defense,” is also meritless.6 Whether a

   statement constitutes protected opinion is a question of law for the Court to resolve in the “context”

   of the objective facts. It is not a question for the jury or dependent on the subjective views of an

   expert.

               Furthermore, Professor Bowman’s testimony would not be the kind of “extrinsic evidence”

   the Supreme Court said in Time, Inc. v. Pape, 401 U.S. 279, 290 (1971) could be helpful when



   4
       CNN Opp. at 6.
   5
       Id. at 1.
   6
       Id.


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   dealing with a report that “bristles with ambiguities,” as CNN argues.7 The “extrinsic evidence”

   the Supreme Court addressed in Pape was testimony from the author of the article in question and

   his researcher about the meaning of a report the author wrote about, not testimony from some

   outside “expert.” Beyond that, none of CNN’s commentators said in their broadcasts or writing

   that Professor Dershowitz’s remarks were ambiguous. To the contrary, one CNN commentator

   stated that Professor Dershowitz’s remarks were not ambiguous.

               Finally, Professor Bowman cannot testify about whether CNN’s statements meet the

   unique “supportable” and “rational” interpretation test of Moldea v. New York Times, Co., 22 F.3d

   310, 313 (D.C. Cir. 1994), which applies only to literary reviews, or about Professor Dershowitz’s

   damage claim. Both those subjects are beyond the scope of his expert report.

                                             ARGUMENT

   I. Professor Dershowitz’s Motion Is Not “Moot”

               CNN claims Professor Dershowitz’s “[p]rimary argument” is that Professor Bowman

   cannot testify as to “the state of mind of any CNN commentators or producers,” and that this

   argument is “moot” because CNN “will stipulate that Professor Bowman will not offer such

   testimony.”8 However, CNN clings to its plan to have Professor Bowman give the jury his

   “opinion on hypothetical listeners’ interpretations” of Professor Dershowitz’s remarks to the U.S.

   Senate.9 The “hypothetical listeners” to whom CNN refers are identified in the Bowman report as

   the press and professional broadcast commentators.        The purpose of Professor Bowman’s

   testimony would be to show that CNN’s professional broadcast commentators interpreted



   7
       Id. at 5.
   8
       Id. at 4.
   9
       Id. at 5.


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   Professor Dershowitz’s remarks the same way he does. That is precisely the kind of state of mind

   testimony that the case law forbids. Thus, CNN’s stipulation is hollow, and it does not “moot”

   Professor Dershowitz’s motion.

               Moreover, Professor Bowman is not a journalist or a political commentator. Consequently,

   his personal interpretations of Professor Dershowitz’s remarks are both irrelevant to the case and

   unhelpful to the jury.

   II. Professor Bowman’s Testimony Would Not Provide Helpful “Context”

               Contrary to CNN’s contention, Professor Bowman’s testimony would not provide helpful

   “context” in this case.10 Professor Bowman’s views on “the articles of impeachment, the process

   of impeachment, the scope of impeachable conduct, and Plaintiff’s views on impeachment” are

   irrelevant to this case.11 This lawsuit is not about impeachable standards or the competing views

   of constitutional scholars on the scope of impeachable conduct. It is about whether CNN defamed

   Professor Dershowitz in connection with its truncated publication of his remarks to the U.S.

   Senate. The members of the jury do not need a lecture from Professor Bowman about the in’s and

   out’s of impeachment to understand the context in which to adjudicate CNN’s conduct.

               Nor are Professor Bowman’s views on impeachment the “context” CNN claims the Court

   invited in its Order denying CNN’s motion to dismiss as helpful in considering “CNN’s opinion

   defense.”12 In the part of that Order addressing CNN’s claim that its statements were protected

   opinion, the Court, citing Rasmussen v. Collier County Publ. Co., 946 So. 2d 567, 571 (Fla. 2nd

   DCA 2006), noted that it would be helpful to have before the Court “a more fully developed



   10
        Id. at 5-7.
   11
        Id. at 5.
   12
        CNN Opp. at 5.


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   record” that included “factors relating to the context of the broadcasts and its audience.”13 But the

   “context” that Rasmussen was talking about was “accord[ing] weight to cautionary terms used by

   the person publishing the statement” and “tak[ing] into account all of the circumstances

   surrounding the publication, including the medium by which it was disseminated and the audience

   to which it was published.” Rasmussen, 946 So. 2d at 571. Because “[w]hether a statement is one

   of fact or one of opinion is a question of law,” that “context” is not “[c]ommentary or opinion

   based on facts that are set forth in the article” which “are not the stuff of libel.” Id. Professor

   Bowman’s views on impeachment do not provide any helpful context in which to determine

   whether CNN’s statements are protected opinion

              Similarly, Professor Bowman’s proposed testimony about Professor Dershowitz’s

   “changing positions on the criteria for impeachment” will not help the jury.14 For purposes of

   determining whether CNN defamed Professor Dershowitz, it makes no difference whether the

   impeachment views that he expressed to the U.S. Senate in 2020 are the same or have evolved

   from those he had 22 years ago.15 And even if, as CNN supposes, Professor Dershowitz’s evolving

   views “allowed CNN commentators to draw the conclusion that the Response was a new and

   expansive argument uncabined by his previous (and contradictory) positions,” Professor Bowman

   cannot “help explain the CNN commentators’ opinion.”16 That is exactly the kind of state of mind

   testimony that CNN concedes, as it must, is inadmissible.




   13
        Order of May 25, 2021 (ECF No. 28) at 16.
   14
        CNN Opp. at 6.
   15
        See Bowman Rep. at 3-4.
   16
        CNN Opp. at 6.

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   III. Professor Bowman’s Testimony Is Not Helpful Regarding Any Alleged Ambiguity

               Professor Bowman’s proposed testimony regarding any alleged ambiguity in the qualifying

   statement by Professor Dershowitz that CNN deleted is not the type of helpful “extrinsic evidence”

   the Supreme Court discussed in Pape.17 In Pape, the Supreme Court held that a news magazine

   did not act with actual malice by failing to clarify in its story about a government report on police

   brutality that “bristled with ambiguities” was based on allegations and not governmental findings.

   The Supreme Court’s holding was aided by testimony from the author of the story and his research

   assistant that they thought the report was true. Pape, 401 U.S. at 283. The Supreme Court

   characterized this factual testimony—and not any expert opinion—as the useful “extrinsic

   evidence” on the issue of actual malice. Id. at 290.

               Here, in contrast, none of CNN’s commentators claimed in their broadcasts or writing that

   the deleted qualifying statement by Professor Dershowitz was ambiguous, much less that it “bristled

   with ambiguities” like the government report in Pape. The harshest thing Professor Bowman says

   about that statement is that it “is at best opaque.”18

               More importantly, unlike the author and researcher who provided “external evidence” in

   Pape about the reason for the absence of the word “alleged” there, Professor Bowman is not one

   of the CNN producers, broadcasters, or political commentators who theoretically could testify

   about whether they thought the deleted qualifying statement was ambiguous. Professor Bowman

   is not even a trained linguist. The jury does not need assistance from Professor Bowman or anyone

   else to understand whether the 18 words of common English comprising that qualifying statement

   are ambiguous. That question is within the jury’s province.



   17
        Id. at 7-8.
   18
        CNN Opp. at 7; Bowman Rep. at 7.

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             But even though the words used by Dershowitz are comprehensible to the jury, CNN

   nevertheless argues that Professor Bowman’s qualifications as a “legal historian” should permit

   him to testify on the meaning of the Dershowitz statement. 19        Quoting from Burton v. Am.

   Cyanamid, 2018 WL 3954858, at *4 (E.D. Wis. Aug. 16, 2018), CNN asserts: “Expert testimony

   is thus appropriate because ‘[e]ven when the words on the face of an historical document are

   comprehensible to the lay juror, a trained historian can contribute tremendously to the accuracy

   and completeness of the juror’s understanding by situating the document in its historical context,’

   including its ‘linguistic’ dimensions.” But the Burton case is entirely inapposite—and the

   historians in Burton were not brought in to testify about the meaning of a particular statement.

             Burton was a failure to warn case against a number of companies which had manufactured

   lead-based paint from 1900 until 1972. In Burton, the court permitted the historians to testify:

   (1) that from 1900 to 1972 the defendants had promoted and manufactured lead-based paint

   without warning of the dangers; (2) that the defendants downplayed the hazards of lead paint

   during that period; (3) that the defendants should have known that lead paint was dangerous based

   on the medical and scientific literature available in those years; and (4) that the defendants never

   communicated any of the known dangers to the public. Testimony of this nature regarding historic

   events is a proper role for an expert historian and is commonplace in failure to warn cases,

   particularly when the conduct of the defendant spans many decades. That is hardly the situation

   here, where CNN wants Professor Bowman to give his opinion on the meaning of the Dershowitz

   statement—and not on historic events. Further, even if Professor Bowman were qualified as a

   “legal historian,” that does not enable him to testify about the meaning or supposed ambiguity of

   remarks made just two years ago, and not in some distant past. No historians are needed here.



   19
        CNN Opp. at 8.

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   IV. Professor Bowman Cannot Testify About the Rationality of CNN’s Statements

               CNN argues that Professor Bowman’s testimony is helpful “because it shows that CNN’s

   Challenged Statements are supportable and rational.”20 Citing Moldea v. New York Times Co., 22

   F.3d 310, 313 (D.C. Cir. 1994), CNN contends that, if its commentators’ interpretations of

   ambiguities in Professor Dershowitz’s deleted qualifying statement are “supportable” and

   “rational,” those interpretation are “not actionable as opinion and for lack of malice.”21 However,

   this argument has no merit for several independent reasons.

               First, Professor Bowman is barred from offering this testimony because it is beyond the

   scope of his expert report. Consistent with Fed. R. Civ. P. 26(a)(2)(B), the scope of testimony that

   a retained expert may offer at trial is limited to the statements and opinions set forth in the expert’s

   written report. See Reese v. Herbert, 527 F.3d 1253, 1265 (11th Cir. 2008); Salgado v. General

   Motors Corp., 150 F.3d 735, 742 n.6 (7th Cir. 1998); Acosta v. Electrolux North America, 2008

   WL 5246160, at *4-5 (S.D. Fla. Dec. 16, 2008). Professor Bowman’s expert report deals only

   with Professor Dershowitz’s statements and the views of “political and legal commentators not

   affiliated with CNN.”22 Nowhere in Professor Bowman’s expert report does he offer an opinion

   about whether CNN’s commentators’ interpretations of any ambiguities in the deleted qualifying

   statement by Professor Dershowitz satisfy the “supportable” or “rational” standards of Moldea.

   Accordingly, Professor Bowman is barred from testifying about that at trial.

               Second, the Moldea standards have nothing to do with this case. Moldea dealt with a “pure

   question of law,” namely, whether challenged statements in a book review were sufficiently




   20
        Id.
   21
        Id. at 9.
   22
        Bowman Rep. at 13.

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   “verifiable” on their face to state a claim for defamation. Moldea, 22 F.3d at 316. There was no

   expert testimony in Moldea, and whether a statement is an opinion is a question of law, which is

   decided by the court with no need for expert testimony. The D.C. Circuit held in Moldea that the

   challenged statements did not state a claim for defamation because they were “supportable” and

   “rational” interpretations of the book. That standard has no application to the present case, which

   does not involve a literary review. Therefore, Professor Bowman’s view on whether CNN’s

   commentators’ interpretations of Professor Dershowitz’s remarks satisfied the Moldea standard

   are irrelevant to this case.

           Third, Professor Bowman is not qualified to offer an opinion about whether the statements

   by CNN’s commentators constitute a “supportable” or “rational” interpretation of any ambiguities

   in Professor Dershowitz’s deleted qualifying statement. As already noted, Professor Bowman is

   not a trained linguist or political commentator. He is no more of an expert on the interpretation of

   ambiguities than the average juror.

   V. Professor Bowman Cannot Testify About Damage to Professor Dershowitz’s Reputation

           Finally, Professor Bowman cannot testify about Professor Dershowitz’s claims of damage

   to this reputation. First, such testimony by Professor Bowman is barred because it is beyond the

   scope of his expert report. Nowhere in is expert report does Professor Bowman address, much less

   offer any opinion, about Professor Dershowitz’s damage claims.

           Second, although Professor Bowman claims in his expert report that Professor

   Dershowitz’s views on impeachable conduct are inconsistent with the views of most constitutional

   scholars, he does not claim that this inconsistency is what has caused damage to Professor

   Dershowitz’s reputation rather than CNN’s defamatory conduct. Professor Dershowitz has been

   damaged by the reputational and emotional costs he has borne as a result of CNN’s defamatory



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   conduct. Professor Bowman has nothing to offer to the jury on that subject.

                                            CONCLUSION

          For these reasons and the reasons in Professor Dershowitz’s motion, the Court should

   preclude Professor Bowman from offering expert testimony in this case.



   Dated: December 2, 2022                              Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on December 2, 2022, I electronically filed the foregoing document

   with the Clerk of Court using the CM/ECF filing system, and that the foregoing document was

   served on all counsel of record via transmission of the Notice of Electronic Filing generated by the

   Court’s CM/ECF system.

                                                                     /s/ Mark A. Schweikert________




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